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                   UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                     CASE NO.: 6:17-bk-04478-RAC

                                               )
In Re:     HOWARD SCOTT BASSUK,                )
                                               )
            Debtor,                            )
                                               )
________________________________________)

                   DEBTOR’S OBJECTION TO CHAPTER 7
                  TRUSTEE’S MOTION TO DISMISS CASE,
                       AND REQUEST FOR HEARING

      The Debtor, Howard Scott Bassuk, by and through

his undersigned counsel of record, respectfully objects

to the motion to dismiss this case [D.E. 42] filed by

the Chapter 7 Trustee, for the reasons stated below,

and requests a hearing on the motion to dismiss.                             In

support of this objection, the Debtor would show the

following:

      1.    The    Chapter   7   Trustee           has   filed   his    motion

pursuant to 11 USC 521(a)(3), alleging that the Debtor

has      failed     to   cooperate        in        providing        necessary

documents.

      2.    The    Debtor    appeared      and           testified     at   the

meeting of creditors on August 15, 2017.                         The meeting

lasted approximately one and half hours, and the Debtor
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answered      questions         both      from     the     Trustee        and    from

counsel representing a creditor.                        The meeting was not

completed, and the Trustee requested that the Debtor

provide      certain         documents,       including           his     2015    tax

return.

      3.     The       Debtor    appeared         and      testified       at     the

continuation of the meeting of creditors on September

26, 2017.      Again, the meeting lasted for over an hour.

      4.     The Debtor stated at the meetings of creditors

that he had filed his 2015 personal income tax return,

but he did not have a copy.                        He stated that he was

requesting         a   copy     from    the      IRS.       The     Debtor       also

repeatedly requested a copy of the return from the tax

preparer in Miami whom the Debtor had paid to prepare

and   file    the       returns     for    both      the    Debtor’s        limited

liability     company         and   for    him      personally.            The    tax

preparer      has      not    responded       to     any    of     the     Debtor’s

requests.

      5.     The        Internal       Revenue       Service        has     advised

recently that the 2015 return for the S-corporation was

not filed. The company’s return should include Schedule

K-1   (IRS    Form       1120S),       titled      Shareholder’s          Share    of
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Income,     Deductions,         Credits,          Etc.,    which      the     Debtor

would    have     required      to        file    his   personal       income      tax

return.     Because      the    company’s           return     was    not     filed,

upon information and belief, the tax preparer in Miami

did not file the Debtor’s individual return for 2015

either.

       6.   Because, upon information and belief, the 2015

was never filed, and because the tax preparer, who may

have    prepared        the    return,           will   not      provide      it    or

respond to any communications, the Debtor is actively

working with counsel to prepare the 2015 return from

data available.           In 2015, the tax preparer was also

working on a monthly basis to handle certain financial

matters     for    the    Debtor’s          limited       liability       company.

Consequently,       he        had     a     substantial          amount     of     the

company’s financial information from which he was to

prepare the tax returns.

       7.   The Debtor believes that the 2015 return can

be   prepared      in    the        near    future.           The    Debtor       also

intends     to    prepare       and       file    his     2016      return.        The

Debtor had very little income in 2016, as his limited

liability company stopped doing business in early 2016.
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     8.        The Court must balance the equities and weigh

the benefits and prejudices of dismissal.                                   Matter of

Atlas     Supply       Corp.,       857   F.2d     1061       (5th    Cir.     1988).

Here, the Debtor filed all schedules, and has acted in

good faith to produce the requested documents.                               There is

no prejudice to creditors because in all likelihood this

is a no-asset case.                 The Debtor should be permitted to

obtain    the        fresh    start    that     bankruptcy       is    intended       to

provide.         The     Debtor       recognizes       that    the     Trustee       has

expended time and effort to perform his duties, but there

has been no intent by the Debtor to obfuscate or cause

undue delay.           There is insufficient cause to dismiss the

case under 11 USC 707(a).

    9.         For      the       foregoing           reasons,         the      Debtor

respectfully         requests     that    the    Court    deny        the    Trustee’s

motion    to    dismiss       the     case,     and    permit        the    Debtor    to

produce the requested documents so that the Trustee can

complete the meeting of creditors and satisfy his other

duties with respect to the administration of the estate.
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                                  Respectfully submitted,

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August 19, 2017


                                  By: /s/ Steven H. Meyer
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